                CaseYankee
                     1:03-cv-02622-TCW
                           Atomic Electric    Document
                                           v U.S          50-7
                                                 Nos.: 98-12~C,                Filed 11/19/2004
                                                                            98-154C,      98-474C August Page      2, 2004   1 of 11 XMAX(63163)
                                 Page3626                                                              Page3628
 (1}   normalwayof dothgbusiness.                                    (1) wereformulated,did youhavea plan, a specific plan
 (2)     QDoyourecall that it translatedinto any                     (2) to beableto dothat?
 (3)   specific requirements that youare aware  of?                  (3)    A No.
 (4)     A No. No, sir.                                              (4)    QAll dght, sir. Mr. Morgan,       Mr. Mills
 (5)     QAll right, sir. Mr.Morgan,    do yourecall                 (5) testifiedearlierin this trial thatafterhis
 (6)   discussingwithMr.Millsthe utilities’ beliefthat               (6) discussionwith youandother program          leaders,you
 (7)   the contract- I’m sorry, I alreadyaskedthat                   (7) agreedthat the acceptance      rate underthe contract
 (8)   question.                                                     (8} would besufficient to coverthe rate of the
 (9)   I believeyoutestifiedthatMr.Mills                             (9) generation of spentnuclearfuel at the timeplus some
(10}   discussedwi~’hyouhis boliefthat theutilities -               (10) amount  to workoff the backlog,Did youagreeto
(11)   I’msorry,theutilities’ beliefthatthecontract                 (11) that?
(12)   shouldcontain’anacceptance   rate; is that correct?          (12} A No.
(13)      A That’s myunderstanding,correct.                         (13) Q Did you makeany representationsto
(14)      QAnddo you recall howhe conveyed        that idea         (14) Mr.Mills or anyotherrepresentative      of theutilities
(15)   to you?                                                      (15) concerning   a specific-
(16)     A Correclly.                                               (16) A No.
(17)     Q Okay.Faceto face?                                        (17) Q - rate?
(18)     A Yes.                                                     (18) A No.
(19)     Q In discussions    withyouin youroffice?                  (19) Q Didyouevertell Mr.Mills or anyone               else
(2o)     A Well,hesaidthat, yes,it shouldincludea                   (20) that, eventhoughthe contractitself wouldnot
(21)   rate, andI saidno.                                           (21) containa specific acceptance        rate, nonetheless,  you
(22)      QAndwhydid you tell him no?                               (22)  agreed that the rate  the  utilities  wanted would  be the
(23)      A Because  that wascontrary to whatwasin the              (23) rate that DOE    wouldbeginto use?
(24)   rule-making process.Thatwas- severalof the                   (24)     A No.
(25)   comments fromutilities hadrequested    that. Andin           (25)     MR.SHAPIRO:     Objection. Leading.




                                Page3627                                                               Page3629
 (1) the process  of resolutionandprior to publishingthe              (1)      THECOURT:    Well, I take it that you are
 (2) final rule-making,  that wasdenied,                              (2)    askingaboutspecific- I’ll overrulethe objection.
 (3)    QAll dght, sir. Doyourecall whyit was                         (3)    Theanswer  canstand.I think it wasa no.
 (4) that that wasdenied?                                             (4)       BYMR. MILLER:
 (5)    A Because   of the uncertainties. Wedidn’t                    (5)       QMr. Morgan,whenyou weredirector of the
 {6) knowat that time whatanacceptance      rate wouldbeor            (6)    program,did you ever makeanyrepresentationsto
 (7} couldbe, andthat wehadno conceptual       designof               (7)    utility representatives
                                                                                                   in privatethat weredifferent
 (8) facilities. Wewerelookingat threedifferent media.                (8)    thanthe publicpositionsthat youtookonthe
 (9) Onewasbasalt, onewastuff, andonewassalt. And                     (9)    program?
(10) there’snoquestionthat the activities in a salt dome             (10)       A No.
(11) wouldbe much    less of a constructionproblem than in           (11)       Q Andconversely, did you makeany public
(12) the other media.Andyoucouldactually run the                     (12)    announcements  with respectto the program   andthen in
(13) drifts fasterin a salt media.                                   (13)    private give different assurances?
(14) QAll dght, sir. Whataboutplansfor                               (14)       A No.
(15) transportationat the timethe contractwasformed?                 (15)       QMr.Mi~lstestified eadierin this trial,
(16} Didyouhaveplansfor transportationat the timethe                 (16)    Mr. Morgan, that youandother DOE   officials
(17) contractwasbeing- I’m sorry, when    I sayat the                  17)   discouraged  written communications  with himaboutthe
(18) time the contractwasformed,] mean      between the time          (18)   variousaspectsof the program    that you discussed with
(19) that the draft contractwaspobtished   andthe ttmethe           j(19)    him.Doyou- did youdo that?
(20) contractwaspublished.                                           (20)       A That’s simply not true.
(21) A I wasawarethat there wereinadequate                           (21)        QWhatabout your staff? Are you awarethat
(22) commercial   licensedcasksavailable for whatwouldbe             (22)    yourstaff did that?
(23) needed,  andthat wehadto establisha program     to get          (23)        A No.
(2,~) NRC certified casks.                                           (24)        QAll right. Afterpublicationof the draft
(25) QAll right. Soduringthe timethe contracts                       (25)    contractin the FederalRegister,did EElgive you




Heritage Rep~-rting          Corporation                       .
                                                               __            44                                   Page 3626 to Page 3629
  ~SA            CaseYankee
                      1:03-cv-02622-TCW
                            Atomic Electric                    Document
                                                             v U.S         50-7
                                                                   Nos.: 98-126C,       Filed
                                                                                      98-154C,   11/19/2004
                                                                                                  98-474C August Page  2 of 11
                                                                                                                  2, 2004                     XMAX(65/65}
                                   Page 3634                                                                 Page 3636
   (1) whereasclause that was requested?                                      (1) missionplan.
   (2)    A No.                                                               (2)    Q All right, sir. Now,did you ever agree
   (3)    Q And why? For what reason did you take                             (3) with Mr. Mills that the 1 -mill fee wasbeingpaid by
   (4) that - did younot includeit, if youwill?                               (4) the utilities in return for a 3,000MTU  acceptance
   (5)      A Becausethe enlire programhad not been                           (5) rate?
   (6)   defined. Wedid not knowwhet the acceptancerate                       (6)     A No. No.
   (7)   wouldbe. Andwefelt that that shouldbe included in                    (7)     Q All dght, sir. In the contextof the
   (8)   the missionplan.                                                     (8) contract, do yourecall the conceptof oldest fuel
   (9)     QAll right, sir. We’ll talk aboutthe                               (9) first or OFF?
(10)     missionplan"atittle bit latar. Butdid you- even                     (10)     A    Yes.
  (11)   thoughyoudidn’t put an acceptance   rate in the final                        Q    And what was that concept?
  (12)   contracl, did you give any differant assurancesto                   (12)     A    Theconceptwasto take the oldest fuel
  (13)   anyoneabout someunwritten agreementon acceptance                    (13) first -
  (14}   rates in the contract?                                                      Q      All right, sir.
  (15)      A No.                                                            (15)    A     -  fromthe utilities. In other words,
  (16)      Q In that regerd, Mr. Morgan,do you recall                       (16) first   out of the reactor wouldbe the pdoriiy of
  (17)   Mr. Mills assertingta youthat the 1 -mill fee be                    (17) acceptance     to the repository.
  (18)   paid - that wasbeing paid underthe contracts wasin                  (18)     Q All right. Doyou recall, sir, whyyou
 (19)    return for a specific rate of performanceon DOE’s                   (19) indicated that there neededto be a pdodtyof
 (2O)    part?                                                               (20) acceptance?
 {21}       A I don’t knowthat I can say that waswhat                        (21)     A Well, becauseeverybodywould like to get
 (22}    wasspecifically said, but that wascedainlypart of                   (22) rid of their fuel as quickly as possible. Andwefelt
 (23)    the - what I understandthe messagethat he was                       (23) that weshouldtake the oldest fuel first. Andof
 (24)    transmitting.                                                       (24) coursethat wouldbe the fuel that hadthe greatest
 (25)       Q Okay. And did you ever agree with Mr. Mills                    (25) decayso it wouldhaveless heat load on the




                                   Page 3635                                                                Page 3637
   (1)   that the 1-mill fee wasbeing paid in relurn for some                 (1) repositary.
   (2)   level of DOEperformanceunder the contract?                           (2)    QAll fight, sir. Did youbelieve at the time
   (3)      A No. I did not agree with that.                                  (3) the contracts wereformedthat you wouldbe able to
   (4)       Q All right. Thequestion of- I’m sorry.                          (4) accepteverythingutilities wantedyouto take all at
   (5)   I’ll start again.                                                    (6) once?
   (6)   I’m sorry, you mayhaveansweredthis. if                               (6)   A    No.
   (7)   youdid I apologize.Doyourecall if Mr. Mills e~,er                    (7)   Q    Andwhywas that, sir?
   (8)   equatedthe rate, the acceptancerate that the                         (8)   A    It wasimpossible. It couldWtbe done.
   (9)   utilities wantedin the contract to somespecific                      (9) Onefor the reason that you’re going to have to havea
 (10)    numberof metric tons of uraniumper year?                            (10) certain rate of acceptanceat a repository, which
 (1I)      A I don’t really recall.                                          (11     wouldnot meetthe - whatthe utilities wouldlike to
 (12)      Q All right, sir. Evenif he had doneso,                           (12)    release to us.
 (13)    woulda specific numberhave matteredto you at the                    (13)       Q All dght, sir. Do yourecall a provision
 (14)    lime Ihe conlract was formed?                                       (I 4)   in the conlract that allowedutilities to exchange
 (lS}       A   No.                                                          (15)    their allocafions of acceptance?
 (16)      Q     Whyis that?                                                 (16}       A Yes.
 (17)      A     It waspremature.                                            (17)       Q Do you recall if that was requested by the
 (18)      Q     Whywasilpremature?                                          (18)    utility?
 (19)      A     Again, becauseof the status of the program,                 (19}       A Yes. And then there were- during the
 (2o)    in the contract, which was, you know,happening                      (20)    rule-makingprocess,there wereutilities that thought
 (21}    immediatelyafter myarrival, that process,that I                     (21)    that should be removed,Andin the process, we
 (22)    felt it wasinappropriateto - for us to committo                     (22)    resolvedthat by leaving that provision in.
 (23)    anyreceipt rates at that time.                                      (23)        Q All right, sir. Ill showyou nowYankee
 (24)       O All right.                                                     {24) Exhibit Number30.
 (25)       A Andthat it wasto be dealt with in the                          (25)   MR. MILLER:All right,      Your Honor, I’m




Herin’age       Reporting     Corporation                                  45                                            Page 3634       to   Page 3637
               CaseYankee
                    1:03-cv-02622-TCW
                          Atomic Electric    Document
                                          v U.S          50-7
                                                Nos.: 98-126C,           Filed 11/19/2004
                                                                      98-154C,      98-4"74C August Page    2, 20043 of 11 XMAX(69/69)
                                Page3650                                                        Page3652
 (1)    Doyousee tha~?                                          (1}    QAll right, sir. Anddid youeverrepresent
 (2)       A Yes.                                               (2) to anybodyin discussions with- well, anyutility
 (3)       QAndit goeson to saysubjectto prior                  (3) representatives  or anyone that the missionplan
 (4)    approvalby the Department.   Doyousee that?             (4) reflectedcontractual  obtigafions?
 (6)       A Yes.                                               (5)    A No, [ did not.
 (6}       QDoyouunderstand    that to refer to the             (6)    Q Andis that, sir, because     of the many
 (7)    exchange  provision?                                    (7) uncertainties thatyou’vealready  testified to that
 (8}       A Yes,                                               (8) existedat the time?
 (9}       QAll right, sir. Soas far as individual              (9)    A That’s correct.
(10}    ufilifies wereconcerned,if theyhadiedividual           (10) QAll dght, sir.
(11}    starageneedsafter lggB, youanficipatedthat they        (11 Sir, the column  that’s entitled- the
(12)    couldusethe exchange   provisionto coverthat?          (12) second column  fromthe left that’s ectit]ed annual
(13)       A Yes.                                              (13) spentfuel generation,doyouseethat?
(r 4)      QAll right, sir. Couldwelook at table 2-2.          (14) A Yes.
(15)    I’m sorry, That’stableI1-1. That’swhatI intended       (15) QMr. Mills said hebelievedthat this column
(16}    ta refer ta. Canyouseethat, Mr. Morgan?                (16) wasnot accurate¯Did you haveany reasonthen or do
(17)       A Yes, lcan.                                        (17) youhaveany reasoncowto doubt- to doubtthe
(18}       QIn the lowerright-handcomerit lookslike            (18) validity of the figuresin that column?
(19}    this pagefell th between  pages2-2and2-1, dght,        (19} A Thatwasthe informationthat wehadat the
(20)    sir?                                                   (20) time.
(21)       A Yes.                                              (21)    QAll right. Doyourecall whatthe sourceof
(22)       QUpat the top, that’s called the Waste              (22) the informationwas?
(23)    Acceptance  Schedule.De yousee that?                   (23) A No, I don’t,
(24}       A Yes.                                              (24) OAll right, sir. Butyoubelievethat
(25)       QAll right, sir. Doyourecognizethis waste           (25) informationto beaccuratethere?




                                  Page3651                                                        Page3653
 (I)    acceptanceschedule?                                     (1)     A Yes.
 (2)       A Yes.                                               (2)      QAll right, sir. Now,Mr. Morgan,    Mr. Mills
 (3)       Q Andwhatdid it indicateto you?                      (3)   testifiedthat hemetwithyouafter this draft
 (4)       A It indicated   ourgoalonthefirst                   (4}   missionplanwasissuedto register his
 (5)    repository acceptance  MTUs in 1988for 5 yearsat one    (5}   disappoinlment,the utilities’ disappointment with
 (6)    rate, andthen subsequent   yearsat 3,000MTU.            (6)   yourstatementaboutthe goalof prevenfingthe need
 (7)    It shows the secondrepositorycomingon                   (7)   for additionalat-reactorstorageandeventually
 (8)    line after thefirst 5 years.Thenit hasa column of       (8}   matching the generation   reg. Doyourecall him
 (9)    cumulativeacceptance.   Andthe remainingbacklog,        (9)   talking ta youaboutthat?
(10)    whichdoesn’tstart beingreduced   until 3 yearsafter    (10)      A I’m sure he did.
(11)    the second  repository,or 2 yearsafter the second      (11)      QAll right, sir. Andhealso said that the
(12)    repositoryis in placeandoperating.                     (12)   acceptance schedule that’s reflectedin this
(13)       QAll right, sir. Now,I believeyou- you              (13)   table 11-1did not comport   with the agreed
(14)    mayhavemisspoken.    I believeyou said it showsa       (14)   understanding  that he hadwith you andother DOE
(15)    schedulebeginningin 1988.Youmeant1968,did you          (15)   ofticials aboutthe acceptance    rate that wasexpecfed
(16)    not?                                                   (10)   underthe contract. Doyou remember       that?
(17)       A 1968, yes.                                        (17)      A I did not havean agreement     with him as to
(18)       QAll right, sir. Andonceagain,it’s - the            (18)   acceptance rate, period.
(19)    ratesthat arereflectedin this table, didyou            (19)      QAll right, sir. But doyourecall him
(20)    considerthoseto be contractualrequirements?            (20)   expressing that opinionto youaboutthe rates
(21}       A No.                                               (21)   reflectedin the missionplan?
(22)       Q Andwhywasthat?                                    (22)      A Start backover-
(23}       A Because    the missionplan as stated in           {23)      Q Allright,sir.
(24)    section3 wasan informationaldocument,     not a        (24)      A - because   I’m thinkingthat you’restill
(25)    contractualdocument.                                   (25)   referringto agreements  that I hadwithMr.Mills.




Heritage      Reporting     Corporation                        46                                         Page 3650 to Page 3653
Case 1:03-cv-02622-TCW     Document 50-7   Filed 11/19/2004   Page 4 of 11




Yar~kee Atomic Electric v.U.S Nos.: 98-126C, 98-154C, 98-474C August 3, 2004


                      Heritage Reporting Corporation


                           Page 3661 to Page 3887




                   CONDENSEDTRANSCRIPTANDCONCORDANCE
                               PREPAREDBY:

                         HERITAGE REPORTING CORPORATION
                                 1220 L Street, N.W.
                                     Suite 600
                               Washington, DC 20005
                               Phone: 202-628-4888
                                FAX: 202-371-0935




                                  47
            Case 1:03-cv-02622-TCW                         Document   50-7          Filed 11/19/2004                                   XMAX(9Ig}
                 Yankee Atomic Electric                  v.U.S Nos.: 98-126C,     98-154C,      98-474C AugustPage           5 of 11
                                                                                                                       3, 2004
                               Page 3693                                                                   Page 3696
(t)   proceeding,there might havebeena liWe bit of                          (I)   A. Yes.
(2)   confusionon that point.                                               (2)   Q. Wasit possible for DOEto predict, in
(3)  But ultimately, we’re talking aboutthe                                 (3) 1983, whatrates they wouldbe able to use in
(4)  samerelevancy. Thankyou for your time.                                 (4) aeceptingfuel in 1998?
(5)     THE WITNESS: You’re welcome.                                        (5)   A, No.
 (6)    THE COURT: Anyredirect?                                             (6)    Q. Basedon your understanding of the Act, the
 (7)    MR. MILLER: Short redirect, YourHonor.                              (7) NWPA, did it require that DOEaccept spent nuclear
 (8)    THE COURT: Onemore round here.                                      (8) fuel andhigh-level wastestarting in ’98 at a rate
 (9) REDIRECT EXAMINATION                                                   (9) that wouldprecludeutilifies from addingfurther
(10)    BY MR. ~41LLER:                                                 i(lO) storagefacilities on-site?
(11)    Q, You thought you were going to get away,                         (11}    A. No, that was not part of the Act.
(12) didn’t you, Mr. Morgan?                                             (12)    Q. Wasthat a programgoal that you had at the
(13)    THECOURT:I don’t blame you, you want to                          (13) time you weredirector -
(14) go backto Oregon,~ think.                                           (14)    A. That was a programgoal that we identified
(15)    THEWITNESS:1 now live in Colorado.                               (15} in the missionplan.
(16)    THE COURT: Oh, Colorado.                                         (16)    Q. Andis that a goal that DOEspecifically
(17)    BY MR. MILLER:                                                   (17) declinedto put in the contrect?
(18)    Q. Mr. Morgan,did DOEelect not to put a rate                     (18)    A. Yes. I mustsay that we hadn’t identified,
(19) of  ecceptancein the standardcontract?                              (19) at the time the contract wassigned or prepared,we
(20)    A.    Yes.                                                       (20) had not identified the acceptancerates that welater
(21) Q.       Wasthat a deliberate choice on your part?                  (21) included in the missionplan. Wehadn’t gotten that
(22)    A.    Yes.                                                       (22) far at the time of the contract. TheAct required
(23)    Q.    Did DOEfeel - well, can you tall mewhy                     (23) that wehavethe ufilifies sign a contract by June
(24) youdidn’t, that youdidn’t put a specific rate of                    (24) 30th, 1983,and we had not gotten to any design,
(25) acceptancein the contract?                                           (25) conceptualdesignon the repository at that time.




                                Page 3694                                                                Page 3696
 (t)   A.     felt that it, because
                                  of the                                   (1)    Q. All dght, sir. In your mind, Mr. Morgan,
 (2) uncertainties of the program,which (’ve discussed                     (2) what’s the difference betweena programgoal and a
 (3) earlier, the NRClicensing processcharacterization,                    (3) contractual requirement?
 (4) the R&Dandother activities, that I thoughtit was                      (4)    A. They were totally separate. The contract
     not prudentto put an acceptancerate in the                            (5) wasthe agreementbetweenDOEand the utilities,    and
 (6} contract¯                                                             (6) the programgoal wasour best efforts at meetingthe
  (7)    Q. And what about your knowledge of the                           (7) requirementsof the Act. Theywere totally
  (9) technical or technologicalor scientific capabilities                 (8) different.
  (9) that you weregoing to haveto have at the                             (9)    MR. MILLER:I have no further questions,
(io) repository, did you knowwhat those were at that                      (I0} Your Honor. Thank you, Mr. Morgan.
      time?                                                               (11)    THE COURT:Anything further?
(12)     A. Not in total becauseof the fact that NRC                      (12)     MR. SHAPIRO:Nothing turther, Your Honor.
(13) hadnot identified the requirementsfor licensing.                     (13)    THECOURT:All right. You’re excused, and
(14)     Q. Okay.                                                         (14) thank you very muchfor your tecfimony.
         A. And quite honestly -                                          (15)    THE WITNESS: Thank you, sir.
(16)     Q. rmsorry.                                                      (16)     MR. MILLER: Your Honor, the government
(17)    A. Geologistsare great. It’s a historical                         (17} calls, as ira next withess, Mr. BenardRusche.
(19) science, not a predictive science, and they cantell                  (19) Whereupon-
(19) you what happened five million years ago, but they                   (19) 8ENARD C. RUSCHE
(20) won’t tell you what’s going to happentomorrow,and                    (20) a witness, called for examination,having beenduly sworn,
(21) that wasa problemthat wehad to deal with.                            (21) was examinedand testified as follows;
(22)    Q. So that was a concern of yours?                                (22)   THE COURT:Just take a seat.
(23)    A. Yes, that was a concern of mine.                               (23) DIRECT EXAMINATION
(24)    Q. In your mind, I’m sorry, in your mind, was                     (24)     BY MR. MILLER:
(25) this programa first of its kind of project?                          (25)     Q. Are you allset,   Mr. Rusche?




Heritage     Reporting      Corporation                                                                              :Page 3693 to Page 369~

                                                                                                                                          .....
    Case 1:03-cv-02622-TCW         Document 50-7              Filed 11/19/2004           Page 6 of 11




                               ydkOO8922.tif   (2544x3456x2    =~ff)
t
         ¯   : "                                                        Telephone(50B) 779-67~
             YANKEEATOMICELECTRIC COMPANY                                  ~x ~,~,~,9

                                      580 Main Sb’eet, Boilon, Massachusetts0~740.1398




                                                     September 25, 1992
                                                     ~ 92-621




              U.S. Department of Energy
              DOE Contracting officer
              office of Placement ~nd Administration

              I000 Independence Avenue,
              Washington,  DC 20585



                   Enclosed ~re completed Delivery Commitment Schedules for
              Yankee Atom/c Electric Company. Please note that because the
              Yankee Nuclear PoQer Station is permanently shutdown and to
              facilitate decommissioning, we are requesting that DOE accept all
              of the spent nuclear fuel in storage at the station over a three
              year period stal-ting in 1998 as indicated on the DCSs.

                   Please do not hesitate to call if you have any questions.

                                                     Sincerely,



                                                     R. M. Grubs, Director
                                                     Fuel Management Depaz~lment



              Enclosure

              C:    U.S. Department of Energ~
                   Chief, L~gistics and Utility Interface Branch
                   O~fice of civilian Endloactive Waste Mamagement
                   RW-432
                   i000 Independence Avenue,
                   Washington, DC 20585




                                                                                          YDK008922
    Case 1:03-cv-02622-TCW                Document 50-7               Filed 11/19/2004              Page 7 of 11




t



        1.0 IDENT~RCATiON
                        INFORMATION

                                                                 1.4 Reac~or/./././Pac~Tdy
                                                                                     Information:

                                                                     Co)Address:
                                                                              s~.~
           1.2 Contact Pecson:                                       (c) C~y,State & Zi~ Code:

                 (~) Telephone
                             (include AreaCode):5oEt-779.-~,71
                                                             !

           1.3 Contact NumbeK


        2.0 DELIVERY COMMR’MENT
                              INFORMATION

           2.1 TypeC~kRequired(Maximum
                                     loadedI~lJng weight, in tons):




        3.0 CER~FICA~ONS




        4.0 NOTiFICATiON OF DOE’APPROVAL

           4.1 Approved by DOE




           4.2




                                                                                                     YDKO08924




                                                                  5O
Case 1:03-cv-02622-TCW             Document 50-7               Filed 11/19/2004           Page 8 of 11




       IDENTIFICATION INFORMATION

                                                       1.4Re
                                                           actor
                                                              ...................~
                                                                                c~


                                                             (c) City, Stale & ~JpCode:




    2.0 DELIVERY COMMITMENT
                          INFORMATION

      2.1 TypeC~skRsquirsd(Mm<imum
                                 loadedI~.Jng weig~, ~t tons):. 37




   3,0 CERTIFICATIONS




   4°0 NOTIFICATIONOF DOE "APPROVAL

       4.1 Approvedby DOE




       4.2




                                                                                           YDKOOB925



                                                                                                         J
                                                        51
Case 1:03-cv-02622-TCW               Document 50-7             Filed 11/19/2004           Page 9 of 11




                                  ydkO08926.’c~i~   (2544x3452x2



                                  ~.rS,~F~0VE~ 8Y 00~ 0ece~ber I, 1992
                                    U,.S.   DEPARTMENT OF ENERGY




     1.0 IDENTIFICATIONB/FORMATION




       1.3 ConlractNumber:.


    2.0 DELIVERY COMMITMENT
                          INFORMATION

       ?-1   TypeCaskRsquirod(M~xJmum
                                    loadedI~ng wei0ht, in tons):      ~,7
       2.2   Sh~pp~gLot Number:.       (Not Reoulred} fAss~qnedby DOE)
       ?-3   ProposedShaping Mode: Tmc~~( ,; Rail           .; Bar~e_..~ .
       2.4   ProposedDe~e~7Date:          2o~o
       ?-5   DOEAssignedDelivee] Commitme~Date:               (Not Reaulred~(Asatoned by DOE~




    3.0 CER3"]RCATIONS




                                                         3.3




   4.0 NOTIFICATION OF DOE"APPROVAL

       4.1 Approvedby DOE




       4.2




                                                                                            YDK008926




                                                          52
Case 1:03-cv-02622-TCW         Document 50-7              Filed 11/19/2004         Page 10 of 11




                           dkO37423.~tf    {2544x3380x2    ~iff)




                                    MEMORANDUM

                               YANKEE ATOMIC -     BOLTON




         submit a Delivery Commitment      Schedule (DCS) to DOE for at least




         The Standard Contract for Disposal of Spent Nuclear Fuel/High
         Level Radioactive    Waste requires  that purchasers    who have
         allocations for spent fuel disposal in the 1991 ACq~ in the first
         year of WMS operation, curTe~tly considered by DOE to be 1998,


         loosing   its place   in the     q~eue;   i.e.    yankee   would   have   no




         Although a p~LTchaser is only requiEed to submit a DCS if it has
         an ~llocation in the first year, DOE dogs not prohibit s~b~ttals
         for any of the purchaser’s allocations during the i0 years of WMS
         operation show~ in the ACR. In fact, DOE requests tmat each
         purchaser submit DCSs for as m~-ny allocations as possible to
         assist them in the pl~.nning of the ~.

         I have attached the schedule from the ACR showing Yankee’s
         projected delivery allocation d~ringthe initial i0 years of WMS
         operation. It shows that DOE will accept a total of 56.1 MTU of
         spent fuel during the period. Deliveries are scheduled in years
         one through four and six and eight. This q~-ntity is less than
         half the fuel in the pool. Although, instrustions for completing




                                                                                   YDK037423
Case 1:03-cv-02622-TCW        Document 50-7           Filed 11/19/2004     Page 11 of 11




           R. M. Grube
           September 25, 1992
           Page 2




           to reject our request and if rejected will require us to ~ubmit




           startup   is consistent   with Yankee’s    desire to remove spen~ fuel

           decommissioning.     It should   also   be logistically    possible   to



           accelerated   schedule    will highlight    the importance    to us for

           Hopefully, our request will have positive effects especially for

           contemplating deuommissionimg; i.e. that it will play a role in
           convincing DOE to either give priority to permanently uhutdown




                                                           h~e~els   Engineer


               A. A. H. Koch
                F. X. Quinn
               R. A. Mellcr




                                                                                 YDK037424
